                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                      Case No. 10-70444

BILL JOSEPH MESSER,                                         Chapter 7

                       Debtor.                              Judge Thomas J. Tucker
                                         /

VIRGINIA H. CHAMBERLAIN, et al.,

                       Plaintiffs,

v.                                                          Adv. Pro. No. 10-7612

BILL JOSEPH MESSER,

                       Defendant.
                                             /

               ORDER DENYING MOTIONS FOR SUMMARY JUDGMENT

         This adversary proceeding is before the Court on Plaintiffs’ motion for summary

judgment (Docket # 31), and on Defendant’s motion for summary judgment (Docket # 39).

Today the Court has filed a written opinion regarding these motions. For the reasons stated by

the Court in the written opinion,

         IT IS ORDERED that Plaintiffs’ motion for summary judgment (Docket # 31) is denied.

         IT IS FURTHER ORDERED that Defendant’s motion for summary judgment (Docket

# 39) is denied.


Signed on October 18, 2013                           /s/ Thomas J. Tucker
                                                     Thomas J. Tucker
                                                     United States Bankruptcy Judge




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